       Case 1:12-cv-01567-CCC Document 206 Filed 12/04/20 Page 1 of 11




              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

COMMONWEALTH OF PENNSYLVANIA,
PENNSYLVANIA GAME COMMISSION,

              Plaintiff,

       v.                                     Case No. 1:12-CV-1567

THOMAS E. PROCTOR HEIRS TRUST and             Judge Conner
the MARGARET O.F. PROCTOR TRUST,

              Defendants.

      DEFENDANTS’ TRIAL BRIEF ON EVIDENTIARY DISPUTES
      There remain, in Defendants’ view, four basic evidentiary disputes relating

to exhibits that the parties have proposed to introduce:
      •      Defendants (the “Trusts”) continue to object to the admission of legal
             opinion testimony regarding the ownership of the subsurface estate of

             the Josiah Haines Warrant (the “Premises”), reiterating an objection
             that the Court has previously sustained.
      •      Plaintiff (“PGC”) objects to the authenticity of ledger/plat books

             maintained by Central Pennsylvania Lumber Company (“CPLC”), and
             certain letters pasted into those books, despite authenticating
             testimony and the patent age and authenticity of these materials.
      •      PGC objects to certain historical documents, as inadmissible hearsay,
             even though all meet the standard for “ancient documents” under Fed.
             R. Evid. 803(16) (as well as other applicable hearsay exceptions).


                                          1
       Case 1:12-cv-01567-CCC Document 206 Filed 12/04/20 Page 2 of 11




      •      PGC objects to all of the Trusts’ proposed exhibits as irrelevant,
             reiterating an argument that the Court has already resolved.

      As the following discussion shows, the Trusts’ objection has merit, but the
PGC’s objections do not. Therefore, the Trusts ask the Court to exclude Exhibits
P1 and P2 and the first seven pages of Exhibit J1, and to overrule the PGC’s
objections to the Trusts’ exhibits and admit them into evidence.


I.    The Court Should Continue to Exclude Improper Legal Opinion
      Testimony Proffered by the PGC.
      As this Court previously held, opinion testimony previously offered by a
lawyer retained by the PGC is improper and inadmissible. See Mem. Op. &
Order (ECF No. 183) at 7 n.5 (“we agree with Judge Schwab that the

conclusions set forth in the report regarding the legal effect of the 1908 tax sale
and ownership of the disputed mineral rights impermissibly usurp the role of
the court in this quiet title action.”); see also Report & Recommendation (ECF
No. 155) at 11-17. The Trusts continue to object to the admission of the
opinion of attorney Jay Wilkinson (Exhibit P1), and also object to similar
portions of the Percheron Title Abstract 1 (Exhibit J1), as well as a title report

prepared for the PGC in connection with the purchase of certain lands in




      1
        The Trusts object to pages J1.001 to J1.006, which contain assumptions
and legal conclusions regarding the ownership of the subsurface estate. The
remaining pages are simply excerpts from and copies of relevant instruments that
are not objectionable.

                                           2
       Case 1:12-cv-01567-CCC Document 206 Filed 12/04/20 Page 3 of 11




Sullivan County (Exhibit P2).2 All of these contain inadmissible legal
conclusions.

      The Court’s prior ruling on this subject was and remains correct: expert
testimony that purports to opine on legal issues intrudes on the “Court’s role as the
legal expert” and is improper and inadmissible. Romero v. Allstate Ins. Co., 52
F.Supp.3d 715, 723 (E.D. Pa. 2014); Thomas v. United States, 106 Fed. Cl. 467,
476, n. 4 (2012) (“Expert testimony that testifies about what the law is or directs
the finder of fact how to apply law to facts” does not comply with Rule 702).

Although there is little risk that the Court as finder of fact would be misled, the
usefulness of the testimony is, for the same reason, especially attenuated. See
Martin v. Indiana Mich. Power Co., 292 F.Supp.2d 947, 959 (W.D. Mich. 2002)
(“if the dangers of the [expert’s] testimony on the [ultimate] issue… are minimal,
so is her helpfulness to the court in understanding the evidence and determining the
facts in issue in this case.”). Thus, the “district court must limit expert testimony
so as to not allow experts to opine on ‘what the law required’ or ‘testify as to the
governing law.’” Holman Enterprises v. Fidelity and Guar. Ins. Co., 563
F.Supp.2d 467, 472 (3d Cir. 2008).
      Here, the opinions and conclusions set forth in the Wilkinson Declaration,
portions of the Percheron report, and the “L-36” title report are all legal


      2
        Substantial portions of Exhibit P2 are legal conclusions presented by the
PGC’s title examiner, which are not admissible against the Trusts (even though
they would be admissible against the PGC, as admissions, if introduced by the
Trusts). The remaining portions of Exhibit P2 do not appear to be relevant to the
dispute before the Court.
                                           3
       Case 1:12-cv-01567-CCC Document 206 Filed 12/04/20 Page 4 of 11




determinations reserved for this Court to decide. The factual issues that remain for
trial – whether CPLC reported its interest in the Premises, and whether McCauley

was an agent of CPLC – are issues that none of these documents address.
Therefore, their conclusions would not assist the Court at trial.
      Accordingly, the Court should sustain the Trusts’ objections to the
Wilkinson declaration (Exhibit P1), the “L-36” title report (Exhibit P2), and pages
J1.001-006 of the Percheron Report (Exhibit J1), and should deny their admission
into evidence at trial.


II.   The Court Should Overrule the PGC’s Authenticity Objection.
      The PGC challenges the authenticity of portions of CPLC’s ledger/plat
books, excerpts of which are marked as Exhibits D15, D16, D17, D30 and D31
(letters to or from C.H. McCauley, Jr.) and as Exhibit D41 (the ledger page and
plat for the Josiah Haines warrant).
      “To satisfy the requirement of authenticating or identifying an item of

evidence, the proponent must produce evidence sufficient to support a finding
that the item is what the proponent claims it is.” Fed. R. Evid. 901(a). “[T]he
burden of proof for authentication is slight.” Lexington Ins. Co. v. W.

Pennsylvania Hosp., 423 F.3d 318, 328 (3d Cir. 2005) (internal quotations
omitted); Threadgill v. Armstrong World Indus., Inc., 928 F.2d 1366, 1375 (3d
Cir. 1991) (“there need be only a prima facie showing, to the court, of

authenticity, not a full argument on admissibility.”). Rule 901 provides a
nonexclusive list of methods by which a document may be authenticated, and

                                          4
       Case 1:12-cv-01567-CCC Document 206 Filed 12/04/20 Page 5 of 11




Rule 901(b)(8), which deals with authenticating ancient documents and data
compilations, provides that such can be done by evidence that the document or

data compilation:
      (A) is in a condition that creates no suspicion about its authenticity;
      (B) was in a place where, if authentic, it would likely be; and
      (C) is a least 20 years old when offered.
Fed. R. Evid. 901(b)(8). “[T]he point of a Rule 901(b)(8) inquiry is to
determine whether the documents in question are, in fact, what they appear to

be.” Threadgill, 928 F.2d at 1375.
      The CPLC ledger books are in the possession of non-party Lauri Sekerak,
an abstractor from the Warren area. Ms. Sekerak gave a de bene esse
deposition testimony on July 15, 2020 at which she identified how she came to
possess the books and showed the original books during her testimony. See
Sekerak Tr., Ex. J30, at 7:15-10:24. Ms. Sekerak testified that the books were
maintained by the former law firm of Mervine, Calderwood & Hammond in
Warren when she discovered them in the firm’s library approximately 15 years
ago when she was doing title work for the firm. Id. at 8:9-20. The firm was
dissolving due to Judge Hammond’s appointment to the bench and she inquired
about the books and offered to take them. Id. at 9:18-10:1, 11:9-16. Ms.
Sekerak has maintained control of the books ever since, although she permitted
David Rainey of the International Development Corporation (the claimed
successor to CPLC’s oil, gas and mineral rights) to photograph the pages of the



                                          5
       Case 1:12-cv-01567-CCC Document 206 Filed 12/04/20 Page 6 of 11




books. Id. at 15:10-13, 11:17-13:20.3 The location of CPLC’s books in Warren
makes sense, because in 1931 CPLC relocated its headquarters to Sheffield, in

Warren County, where it remained until its closure in 1941. See Warren Cnty.
Hist. Soc., “Sheffield Depot Preservation Society,”
https://www.warrenhistory.org/sheffield%20depot.htm (Ex. A hereto); C.P.L.
Closing End of Era in Eastern U.S., The Kane Republican, July 12, 1941 (Ex. B
hereto).
      The CPLC books are plainly more than 20 years old. Initially, the

excerpts by their own terms date back to the early 1900s. See Exs. D15-17,
D30-31 and D41. The latest of the letters sought to be admitted is dated May
15, 1916. See Ex. D31. Indeed, Ms. Sekerak testified that the condition of the
books reflected their age. Sekerak Tr., Ex. J30, at 14:11-24.
      Moreover, the authenticity of the CPLC books was patent based on their
appearance. McGuire v. Blount, 199 U.S. 142, 145 (1905) (considering the
“honest as well as ancient appearance” of the documents); see also LG Display
Co. v. AU Optronics Corp., 265 F.R.D. 189, 196 (D. Del. 2010) (“the contents,
appearance and substance of the documents supports their authenticity.”). The
appearance, contents, substance, internal patterns, distinctive characteristics,
and its age are all factors the Court should consider. Fed. R. Evid. 901(b)(4).


      3
        The photographs taken by International Development Corporation are the
reproductions the Trusts have utilized in this case. Ms. Sekerak brought the
original books to her deposition and she compared each of the exhibits to the
original pages in the books and confirmed the exhibits are accurate reproductions.
Sekerak Tr., Ex. J30, at 15:14-32:24.
                                           6
       Case 1:12-cv-01567-CCC Document 206 Filed 12/04/20 Page 7 of 11




      In that regard, Ms. Sekerak held up the original books for counsel to see
during the remote deposition, and screenshots of the books from the video

deposition are included at the end of Exhibit J30. See Sekarak Tr., Ex. J30, at
J30.074-082. The appearance and condition of the volumes – bound in leather,
with “C. P. L. Co.” in gilt lettering stamped on the covers – confirms the
materials’ age and authenticity. Id. Further, the exhibits’ typography and
handwriting is distinct, and characteristic of the early 20th century. See Exs.
D15-17, D30-31 and D41. Also, the contents of the books reflect CPLC’s

massive land ownership in several counties in Pennsylvania, correctly
identifying their predecessors in interest (i.e. Proctor and the other tannery
owners that joined the U.S. Leather Company), and had detailed accounts of the
bark stripping, peeling and timbering on the lands.
      Under the circumstances, it would be fanciful to suggest that these CPLC
books or the documents interleaved in those documents were forged, then left to
molder for years in the offices of a Warren law firm, and rescued from the scrap
heap by a land agent solely to support unknown claims arising years later. See
United States v. Stelmokas, 100 F.3d 302, 312–13 (3d Cir. 1996) (holding
ancient documents admissible where the defendant had “not produced any
evidence or forwarded any reason to impeach the validity of the documents”
and finding “it is difficult to conceive why someone would go to the lengths” of
“plant[ing] fake documents in widely-scattered places” to frame him).
      The PGC’s primary objection appears to be that Ms. Sekerak lacked
personal knowledge regarding the contents of the documents. See, e.g., Sekerak

                                           7
       Case 1:12-cv-01567-CCC Document 206 Filed 12/04/20 Page 8 of 11




Tr., Ex. J30, at 47:22-25. However, “the lack of personal knowledge by [the
authenticating witness] concerning the documents does not affect their

admissibility into evidence.” LG Display Co. v. AU Optronics Corp., 265
F.R.D. 189, 196 (D. Del. 2010). Ms. Sekerak has personal knowledge
regarding her discovery of the CPLC ledger books, her maintenance of the
books since she obtained possession and her review of the books’ content and
appearance. That is sufficient. Whether she knows why Calvin H. McCauley,
Jr. sent a letter regarding a specific piece of property is irrelevant to

determining whether the records are what they purport to be.
       Accordingly, the Game Commission’s authenticity objection to Exhibits
D15, D16, D17, D30, D31 and D41 should be overruled.


III.   The PGC’s Hearsay Objections Are Not Well-Taken.
       The Game Commission raises hearsay objections to the following proposed
exhibits proffered by the Trusts:

       • D5, D33 and D35 - correspondence from the Proctor estate to county
          treasurers in Pennsylvania, C.H. McCauley, Jr. and George R. Hill;
       • D9 - news articles regarding Proctor & Hill’s coal activity;

       • D12 - the first annual report of CPLC;
       • D15-D17, D30-31 and D41 - Letters to and from C.H. McCauley, Jr.
          contained in the CPLC Ledger books and the Josiah Haines excerpt

          from the Ledger Books;
       • D18-20 and D22 - the Boyd’s Directory of Williamsport for the years

                                            8
       Case 1:12-cv-01567-CCC Document 206 Filed 12/04/20 Page 9 of 11




          1905-1909;
      • D32 and D48 – newspaper articles regarding C.H. McCauley, Jr.;

      • D34 – CPLC’s map of lands; and
      • D39 and D40 – John Moody’s The Truth About the Trusts and
          Thomas Taber’s Sunset Along Susquehanna Waters.

      Notably, each of the above exhibits qualifies as ancient documents (which is
not at all surprising, given this case involves events taking place between 1894 and
1922). “Once a document qualifies as an ancient document, it is automatically

excepted from the hearsay rule under Fed. R. Evid. 803(16).” Threadgill v.
Armstrong World Indus., Inc., 928 F.2d 1366, 1375 (3d Cir. 1991). Rule 803(16)
provides that an “ancient document” is “a document that was prepared before

January 1, 1998, and whose authenticity is established.” Therefore, all of the
exhibits are excepted from the hearsay rule under Rule 803(16).4 Accordingly, the
Game Commission’s hearsay objections should be overruled.


IV.   The Court Should Adhere to Its Prior Ruling on PGC’s Relevance
      Objections.
      The PGC objects generally to the relevance of all of the Trusts’ proffered

exhibits. Presumably this objection is a reiteration of the PGC’s position that
only the assessment and tax deed are relevant to the Court’s inquiry, and that

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        These exhibits also qualify for admission under several of Rule 803’s other
exceptions. For example, the CPLC ledger books and correspondence, map of
CPLC’s lands, CPLC’s first annual report, and correspondence by the Proctor
estate qualify as records of regularly conducted activity under Rule 803(6). The
Boyd’s directories qualify as “directories” under Rule 803(17). All of the exhibits
would also qualify under the residual exception under Rule 807.
                                          9
      Case 1:12-cv-01567-CCC Document 206 Filed 12/04/20 Page 10 of 11




any materials not in the public record may not be considered. The Court has
already resolved this question, in holding that the issues of CPLC’s reporting of

its ownership and McCauley’s agency are relevant to determining the effect of
the tax sale. See Mem. Op. & Order (ECF No. 183) at 28-43. The Court should
adhere to this ruling, because the Trusts’ evidence bears upon the two factual
issues this Court held were necessary to decide in order to determine the effect
of the 1908 tax sale (i.e., the scope of the 1907 assessment and McCauley’s
agency). See id. at 43.


V.    The Trusts Reserve Certain Relevancy Objections.
      As a final note, there are certain exhibits whose relevancy is not
immediately apparent (for example, Exhibits P29, P30, P32, P33 and P35). The
Trusts therefore reserve the right to seek offers of proof, and (if appropriate) to
challenge the admission of certain documents at trial, should the PGC fail to tie
those exhibits to facts that are of consequence to the determination of the

matter.


VI.   Conclusion.
      In sum, the Trusts ask the Court to exclude Exhibits P1 and P2 and the
first seven pages of Exhibit J1, and to overrule the PGC’s objections to the
Trusts’ exhibits and admit them into evidence.




                                          10
Case 1:12-cv-01567-CCC Document 206 Filed 12/04/20 Page 11 of 11




                              Respectfully submitted,

                              /s/ Paul K. Stockman
                              Paul K. Stockman
                                  Pa. ID No. 66951
                              KAZMAREK MOWREY CLOUD LASETER LLP
                              One PPG Place, Suite 3100 Pittsburgh, PA
                              15222
                              pstockman@kmcllaw.com

                              Laura A. Lange
                                 Pa. ID No. 310733
                              1670 Sturbridge Drive
                              Sewickley, PA 15143
                              lange@proctortrust.com

                              Attorneys for the Thomas E. Proctor Heirs
                              Trust and Margaret O.F. Proctor Trust




                              11
